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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT

NAACP, ET AL.,                                       :              No. 3:18-cv-01094-WWE
           Plaintiffs,                               :
                                                     :
               v.                                    :
                                                     :
DENISE MERRILL, ET AL.,                              :
          Defendants.                                :              OCTOBER 18, 2018

                       DEFENDANTS’ REPLY BRIEF IN FURTHER
                       SUPPORT OF THEIR MOTION TO DISMISS

       Plaintiffs do not dispute that Connecticut’s map falls within the 10% threshold when

measured by the facially neutral census population numbers that the legislature actually used.

Plaintiffs also do not even attempt to argue that the legislature intended to discriminate against

minority voters in urban districts, either in its decision to rely on census numbers or in the

manner that it drew the legislative map.      As the First Circuit correctly held in Cranston,

therefore, Plaintiffs have failed to establish a prima face case of discrimination under the one

person, one vote principle of the Equal Protection Clause.

       Plaintiffs seek to avoid that conclusion—and to manufacture an equal protection violation

that does not exist—by claiming that Connecticut’s map exceeds the 10% threshold only when

measured by an entirely different population base that the legislature indisputably did not use.

Neither precedent nor practice supports this attempt to supplant the legislature’s reasonable

exercise of its redistricting authority. To the contrary, the Supreme Court has made clear that the

choice of population base—and in particular the decision about how to count prisoners in the

population base—is a political judgment that is exclusively for the legislature to make, and that

courts cannot interfere with absent a showing of intentional discrimination. Because Plaintiffs

have made no such showing, this Court is bound to respect the legislature’s choice.



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I.     THE COURT CANNOT IMPOSE PLAINTIFFS’ CHOSEN POPULATION
       BASE ABSENT A SHOWING OF DISCRIMINATORY INTENT

       The redistricting process involves “a complex interplay of forces” that are inherently

political in nature and that are “exclusively for the legislature to make.” Abbott v. Perez, 138 S.

Ct. 2305, 2324 (2018); Burns v. Richardson, 384 U.S. 73, 89 (1966). That is especially true with

regard to the decision about how to include prisoners and other transient groups in the population

base. The Supreme Court repeatedly has made clear that those questions in particular involve

“fundamental” political choices about the “nature of representation” with which courts have “no

constitutionally founded reason to interfere.” Burns, 384 U.S. at 92; Gaffney v. Cummings, 412

U.S. 735, 749-51, 754 (1973); see Evenwel v. Abbott, 136 S. Ct. 1120, 1126 n.6 (2016);

Davidson v. City of Cranston, 837 F.3d 135, 142-44 (1st Cir. 2016); Chen v. Houston, 206 F.3d

502, 528 (5th Cir. 2000); Daly v. Hunt, 93 F.3d 1212, 1227 (4th Cir. 1996). As long as the map

falls within the 10% threshold when measured by a chosen population base that is facially

neutral, therefore, the “apportionment base offends no constitutional bar, and compliance with

[one person, one vote] is to be measured thereby” absent other evidence of discriminatory intent.

Burns, 384 U.S. at 92; see also Evenwel, 136 S. Ct. at 1126 (affirming District Court’s

conclusion that states may use “any neutral, nondiscriminatory population baseline . . . when

drawing state and local legislative districts”).

       Plaintiffs’ claim flies in the face of these precedents, as they inescapably ask the Court to

usurp the legislature’s authority and impose their own chosen population formula based solely on

their own subjective belief that prisoners do not receive effective representation from legislators

in their districts. See Pl. Br. at 9, 15-19, 21. That is precisely the kind of political judgment

about the “nature of representation” that this Court cannot interfere with absent a showing of

intentional discrimination. Plaintiffs’ arguments to the contrary lack merit.

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       First, Plaintiffs initially suggest—without explanation or citation to legal authority—that

the Court should simply disregard the long standing principle discussed above because the cases

that established it were decided on a fuller factual record than exists here. Pl. Br. at 11-12. That

is wholly irrelevant. The principle established in those cases is a legal principle, not factual, and

it applies regardless of the procedural posture in which it is presented. In the absence of

allegations of discriminatory intent, therefore, this Court is bound to afford the same deference to

the legislature’s political choice now as it would be after further factual development.

       Second, in an attempt to avoid this fundamental problem, Plaintiffs inexplicably assert

that a showing of discriminatory intent is not required because Connecticut’s map “exceed[s] the

10% threshold.” Pl. Br. at 2, 10-11, 14. But there is no dispute that Connecticut’s map does not

exceed the 10% threshold when measured by the population base that the legislature actually

used. Rather, it allegedly exceeds that threshold only when measured by an entirely different

population base that Plaintiffs ask this Court to unilaterally and retroactively impose more than

seven years after the map at issue was designed and approved. See Compl., ¶¶ 74, 75, 84; Pl. Br.

at 5-6. In making this argument, therefore, Plaintiffs simply disregard the principle discussed

above and improperly assume that the Court can dictate whether and how prisoners should be

counted in the population base. Having improperly made that unfounded assumption, moreover,

Plaintiffs proceed to rely on their own unilaterally dictated population base to create the very

same 10% violation upon which their claim purports to be based. And they do all of this without

any allegation that the population base that the legislature actually did use was itself motivated

by a discriminatory intent. The argument is circular and the Court should reject it.




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       Indeed, the flaw in this argument is perfectly illustrated by the equal protection

framework in which it arises.      Contrary to Plaintiffs’ unsupported assertion, the “ultimate

question” in all one person, one vote cases—just as in every other claim under the Equal

Protection Clause—is “whether a discriminatory intent has been proved.” Abbott v. Perez, 138

S. Ct. 2305, 2314, 2324-25 (2018); see Reno v. Bossier Par. Sch. Bd., 520 U.S. 471, 481-82

(1997); Mobile v. Bolden, 446 U.S. 55, 66-70 (1980). The 10% rule is nothing more than a

burden shifting tool that the Supreme Court has developed to assess whether the discriminatory

intent requirement has been satisfied. Wright v. North Carolina, 787 F.3d 256, 264 (4th Cir.

2015). Specifically, when the population disparities exceed 10% based on the population base

that the legislature used, the courts treat that as a prima facie showing of discriminatory intent

that the government must rebut by providing a “satisfactory explanation” that the deviations

were “grounded on acceptable state policy.” Brown v. Thomson, 462 U.S. 835, 843 (1983).

       Using the 10% rule as indicia of discriminatory intent makes sense when compliance

with the rule is measured by the population base that the legislature actually used. But when

compliance is measured by an entirely different population base that the legislature did not use—

and that Plaintiffs seek to unilaterally impose more than seven years after the districts at issue

were designed and approved—there simply is no basis for imputing the same presumption of

discriminatory intent because any population disparities under the new formula by definition do

not reflect what the legislature actually relied upon or considered when it designed the districts at

issue. Put differently, the fact that a legislative map could exceed the 10% threshold when

measured by a population base that the legislature did not use is not evidence that the population

base that the legislature did use (or the map the legislature drew based on that population base)

was itself motivated by a discriminatory intent.



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       Here, Plaintiffs do not dispute that Connecticut’s map falls squarely within the 10%

threshold when measured by the population base that the legislature actually used, and they do

not claim or allege that the legislature chose that population base with the intent to discriminate.

In the absence of such allegations, Plaintiffs cannot manufacture their own equal protection

violation by unilaterally dictating a different population base and then using that population base

to create the very same 10% violation that serves as their only evidence of discriminatory intent.

       Third, because Evenwel acknowledged that the goal of legislative reapportionment is to

facilitate “equitable and effective” representation, Plaintiffs claim that Evenwel sub silentio

overruled the line of cases discussed above and authorized federal courts to second guess the

states’ decisions about how to count certain groups in the population base, even in the absence

of any showing of discriminatory intent. See Pl. Br. at 15, 16, 19, 21, citing Evenwel, 136 S. Ct.

at 1132. There is nothing in Evenwel that even arguably supports that assertion. To the contrary,

the First Circuit expressly rejected that argument in Cranston, in which that court squarely held

that Evenwel: (1) “did not disturb” the established rule that challengers “must show invidious

discrimination to make out an apportionment claim under the Equal Protection Clause;” (2)

“reinforced the principle established [in Burns]” that, absent a showing of intentional

discrimination, the decision about whether and how to count prisoners “involve[s] choices about

the nature of representation with which [courts have] no constitutionally founded reason to

interfere;” and (3) categorically refused to second guess or overrule Texas’ decision to rely on

unmodified census data. Cranston, 837 F.3d at 142-44.




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       Plaintiffs’ selective and misleading reliance on the Supreme Court’s reference to

“equitable and effective” representation in Evenwel does not compel a different conclusion.

Reading the entire statement in which the quoted language is contained—most of which

Plaintiffs omit from their brief—the Supreme Court merely stated that using total population

promotes the goal of “equitable and effective” representation “[b]y ensuring that each

representative is subject to requests and suggestions from the same number of constituents.”

Evenwel, 136 S. Ct. at 1132. Thus, Evenwel makes clear there and elsewhere in its opinion that,

for purposes of one person, one vote, “equitable and effective” representation is to be understood

in terms of “numbers of people,” and in particular, whether each district has approximately the

same “aggregate number of inhabitants” such that “each representative is subject to requests and

suggestions from the same number of constituents.” Id. at 1127-29, 1132. Indeed, one person,

one vote always has been understood simply in terms of “numbers of people.” See id. at 1127-32

(discussing the constitutional history of apportionment and the Supreme Court’s one person, one

vote jurisprudence). Beyond that, there simply is nothing in Evenwel or any other case that

Plaintiffs cite to suggest that courts can or should reach beyond the population numbers to assess

whether in practice legislators in particular districts actually provide what their constituents find

to be “effective representation.” To the contrary, such an inquiry involves the exact kind of

“fundamental” questions about the “nature of representation” with which courts have “no

constitutionally founded reason to interfere.” Burns, 384 U.S. at 92; Gaffney, 412 U.S. at 749-

51, 754. Evenwel did nothing to upset—and in fact “reinforced”—that long standing principle.

Cranston, 837 F.3d at 142-44.




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       Fourth, to the extent there is any doubt about whether Evenwel, Burns and Gaffney

support Defendants’ argument—which there should not be—Cranston dispels that doubt, as the

First Circuit held in that case that “the methodology and logic” of those and other cases foreclose

identical claims to those here. Cranston, 837 F.3d at 137; see id. at 142-44. Plaintiffs’ attempts

to distinguish Cranston border on frivolous, and the Court should reject them.

       For example, Plaintiffs suggest that Cranston is distinguishable because the remedy

sought in that case was to exclude prisoners from the apportionment base, whereas Plaintiffs here

seek to reallocate prisoners to their district of origin. Pl. Br. at 21. That is entirely irrelevant.

Regardless of what remedy Plaintiffs seek, their legal claim (and their argument in support of it)

is exactly the same as the legal claim in Cranston; namely, that counting prisoners where they

are incarcerated violates one person, one vote because it: (1) “inflates the voting strength and

political influence of the residents in [prison districts] and dilutes the voting strength and

political influence of Plaintiffs and other persons residing [in non-prison districts],” in violation

of the right to electoral equality; and (2) deprives residents in non-prison districts of

representational equality because inmates do not have ties to the district where they are

incarcerated, and do not receive effective representation therein. Compare Cranston, 837 F.3d at

139-40 with Compl., ¶¶ 4-5, 8, 69, 77-78, 89-91. The First Circuit’s rationale for rejecting that

legal claim in Cranston applies equally to Plaintiffs’ identical claim in this case.

       Relatedly, Plaintiffs argue that Cranston is distinguishable because it examined the

effects of prison gerrymandering on non-prison districts generally, without considering the

purported “double punch” that Plaintiffs claim to have suffered by having residents both

“removed from Plaintiffs’ districts and assigned to other districts.” Pl. Br. at 23. By Plaintiffs’

own admission, however, this argument again speaks to the extent of their alleged injury and the



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nature of the relief they seek. Id. (arguing that this distinction means Plaintiffs “can secure full

relief only by having prisoners properly counted in their districts of origin—not removed from

the apportionment base”). By contrast, Plaintiffs cite no legal authority to demonstrate that this

distinction requires a different legal analysis to determine whether Plaintiffs are entitled to relief

in the first place. And Plaintiffs provide no coherent rationale for why that should be the case.

       Continuing to grasp at straws, Plaintiffs argue that Cranston is distinguishable because it

involved municipal prison gerrymandering instead of gerrymandering in the state legislature. Pl.

Br. at 23. But again, Plaintiffs do not cite any case or provide any argument to demonstrate why

that makes a legal difference. And they cannot do so, as the framework is the same in both

contexts. Compare Fairley v. Hattiesburg, Miss., 584 F.3d 660, 674 (5th Cir. 2009).

       In addition, Plaintiffs argue that Cranston is distinguishable because, unlike the plaintiffs

in that case, Plaintiffs do not have the political power to remedy their alleged injuries through the

political process. Pl. Br. at 24, citing 837 F.3d at 144. But Plaintiffs once again do not cite any

legal authority or provide any legal argument to demonstrate why that makes a legal difference.

Moreover, the First Circuit did not even arguably suggest in Cranston that the availability of a

political remedy was necessary to that court’s legal analysis. To the contrary, the First Circuit

referenced the availability of a political remedy only after it had determined that Plaintiffs’

“unusual” claim lacks merit, and it did so only to highlight that its rejection of the claim is made

all the more “obvious” by the political realities surrounding it. Cranston, 837 F.3d at 144.

       In any event, Plaintiffs have the same political remedies that the plaintiffs had in

Cranston. Plaintiffs concede that only a small minority of legislative districts in Connecticut

have prisons.    Just like in Cranston, therefore, residents in the vast majority of districts

throughout the state incur the same kind of alleged vote dilution that Plaintiffs claim to have



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suffered, even if the degree of Plaintiffs’ alleged injury is heightened compared to residents in

rural non-prison districts due to the purported “double punch” that Plaintiffs claim to have

incurred. If residents in both rural and urban non-prison districts collectively wish to rectify the

situation, therefore, they can do so through the political process.

        Fifth, and finally, Plaintiffs erroneously claim that this case is controlled by Mahan v.

Howell, 410 U.S. 315 (1973). See Pl. Br. at 12-14. The Cranston plaintiffs made the exact same

argument, and the First Circuit flatly rejected it. 837 F.3d at 145. This Court should reject it too.

       In Mahan, the legislature divided two cities into three districts with equal populations. In

relying on census numbers to calculate the population for those districts, however, the legislature

improperly counted roughly 18,000 Navy personnel as residents of the district in which their ship

was berthed, even though there was no dispute that many of those individuals actually lived in

different and adjoining districts. In those “unusual, if not unique, circumstances,” the Supreme

Court required reapportionment to eliminate the “discriminatory treatment” of military personnel

that resulted from such miscounting. Mahan, 410 U.S. at 331-32.

       As Cranston correctly held, Mahan is “easily distinguishable” because: (1) prisoners are

not being mistakenly counted in a district where they did not live and sleep at the time the census

was taken; and (2) Plaintiffs have not alleged the same kind of deliberate “discriminatory

treatment” that flows from that kind of miscounting. Cranston, 837 F.3d at 145.

       Further, and more importantly, in deciding Mahan the Supreme Court did not conduct

anything close to the kind of substantive inquiry into the “nature of representation” that Plaintiffs

request here. Nor did Mahan purport to overrule or cast doubt on the established rule that courts

simply have no constitutional authority to second guess the legislature’s choice of population

base absent a showing of discriminatory intent. To the contrary, the Supreme Court reaffirmed



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that rule in Gaffney, which the Court decided four months after it decided Mahan. Mahan

therefore does not support the meaning that Plaintiffs ascribe to it. Rather, Mahan stands for

nothing more than the unremarkable proposition that states cannot arbitrarily count individuals as

residents of a district in which they indisputably do not live and sleep when the census is taken.

That concern simply is not implicated here.

II.    THE ELEVENTH AMENDMENT APPLIES

       Plaintiffs admit that they must allege an ongoing violation of federal law in order to

invoke the Ex Parte Young exception to the Eleventh Amendment. Pl. Br. at 25; see, e.g., In re

Deposit Ins. Agency, 482 F.3d 612, 618 (2d Cir. 2007). Because Plaintiffs have not adequately

alleged such a violation, Ex Parte Young does not apply and the Eleventh Amendment bars their

claim. Verizon Maryland, Inc. v. Pub. Serv. Comm’n of Maryland does not compel a different

conclusion. See Pl. Br. at 26. In that case the Supreme Court held that, in conducting the Ex

Parte Young analysis, courts do not resolve the merits of an ongoing violation of federal law that

has been adequately pled. 535 U.S. 635, 646 (2002), citing Idaho v. Coeur d’Alene Tribe of

Idaho, 521 U.S. 261, 281 (1997) (“An allegation of an ongoing violation of federal law . . . is

ordinarily sufficient”) (emphasis in original). However, when an ongoing violation of federal

law has not been adequately alleged—as is the case here—the Eleventh Amendment plainly bars

the claim. E.g. City of Shelton v. Hughes, 578 F. App’x 53, 55 (2d Cir. 2014).

       In any event, even if the Eleventh Amendment somehow does not apply, the Complaint

nevertheless fails to state claim for all of the same reasons. The Court should therefore dismiss

the Complaint on that independent basis.

                                        CONCLUSION

       The Court should dismiss this case with prejudice.



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                                   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 18, 2018, a copy of the foregoing was electronically

filed. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.




                                             /s/ Michael K. Skold
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